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7                               UNITED STATES DISTRICT COURT

8                                       DISTRICT OF NEVADA

9                                                  ***

10   UNITED STATES OF AMERICA,                          Case No. 3:16-cr-00013-HDM-WGC
11                                         Plaintiff,
            v.
12
     ESTEVAN NAVARRO,
13   MIGUEL NAVARRO-SANCHEZ,
     JUAN PABLO ARCADIA, and
14   GERARDO LOPEZ-ANGULO,                                          and related case

15                                    Defendants.

16
     UNITED STATES OF AMERICA,                          Case No. 3:16-cr-00026-MMD-VPC
17
                                           Plaintiff,
18          v.                                                    Reassignment Order

19   GERARDO LOPEZ-ANGULO,
     GONZALO ORTEGA-MENDOZA, and
20   OSVALDO GARCIA-GARCIA,

21                                    Defendants.

22

23          The presiding District Judges in these actions have reviewed the government’s

24   notice of related cases (ECF No. 43 in case no. 3:16-cr-0013; ECF No. 35 in case no.

25   3:16-cr-00026) and have individually and collectively determined that these actions are

26   related and that there is good cause to reassign them to one District Judge.

27   Additionally, reassignment will promote judicial efficiency, avoid duplicative filings by the

28   parties, and will not result in prejudice to the parties.
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 3         Accordingly, it is hereby ordered that case no. 3:16-cr-00026-MMD-VPC is
 4   reassigned to District Judge Howard D. McKibben, and Magistrate Judge William G.
 5   Cobb, and all future pleadings must bear case number 3:16-cr-00026-HDM-WGC.
 6         DATED THIS 11th day of May 2016.
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     MIRANDA M. DU                              HOWARD D. McKIBBEN
 9   UNITED STATES DISTRICT JUDGE               UNITED STATES DISTRICT JUDGE
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